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                            UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

SANTANDER CONSUMER USA, INC.,      §
                                   §
      Plaintiff,                   §
                                   §
v.                                 §                                Civil Action No. 3:21-CV-02471-L
                                   §
SANDY SANSING NISSAN, INC.,        §
SANDY SANSING CHEVROLET, INC.,     §
SOUTHERN CHEVROLET, INC. d/b/a     §
SOUTHERN CHEVROLET,                §
SANDY SANSING IMPORTS, INC. d/b/a  §
BMW MINI OF PENSACOLA,             §
SANDY SANSING MILTON               §
CHEVROLET, LLC d/b/a SANDY AND     §
BUBBA'S MILTON CHEVROLET,          §
SANDY SANSING FORD-LINCOLN,        §
LLC, SANDY SPRINGS BROOKHAVEN,     §
LLC, SANDY SANSING NISSAN HOLDING, §
INC. d/b/a SANDY SANSING MAZDA,    §
and SANDY SANSING CDJR, LLC,       §
                                   §
      Defendants.                  §


     MOTION TO EXTEND DEFENDANTS’ RESPONSIVE PLEADING DEADLINE


        Defendants Sandy Sansing Nissan, Inc., Sandy Sansing Chevrolet, Inc., Southern

Chevrolet, Inc., 1 Sandy Sansing Imports, Inc. d/b/a Sandy Sansing BMW and MINI of Pensacola, 2

Sandy Sansing Milton Chevrolet, LLC d/b/a Sandy and Bubba’s Milton Chevrolet, Sandy Sansing

Ford-Lincoln, LLC, Sandy Sansing Brookhaven, LLC, 3 Sandy Sansing Cars, Inc. d/b/a Sandy

Sansing Mazda, 4 and Sandy Sansing CDJR, LLC (collectively, “Defendants”) respectfully request


1
  Incorrectly named as Southern Chevrolet, Inc. d/b/a Southern Chevrolet.
2
  Incorrectly named as Sandy Sansing Imports, Inc. d/b/a BMW Mini of Pensacola.
3
  Incorrectly named as Sandy Springs Brookhaven, LLC.
4
  Incorrectly named as Sandy Sansing Nissan Holding, Inc. d/b/a Sandy Sansing Mazda.



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the Court to extend the deadline for each to file their answer and/or responsive pleading to

Plaintiff’s Original Petition, extending the deadline from Thursday, October 14, 2021 to and

including Tuesday, October 19, 2021. In support, Defendants show as follows:

        Defendants respectfully request the Court to extend the current deadline to file their

answer/responsive pleading from the current deadline of Thursday, October 14, 2021 to, and

including Tuesday, October 19, 2021. There is good cause for the requested short 5-day extension.

See FED. R. CIV. P. 6(b). Counsel needs additional time to finish conferring and coordinating with

the clients regarding the contents of Defendants’ responsive pleading and to finalize the document

and supporting materials. See App. at 03. Lead counsel for Defendants is also engaged on a

separate matter in federal court with a responsive pleading deadline of October 15, 2021 that

involves complex issues and evidence, and also is responding to written discovery in a state court

matter on October 15, 2021. Counsel requests additional time to accommodate both deadlines.

Both members of counsel for Defendants have existing case obligations that prohibit them from

devoting sufficient time to complete the answer/responsive pleading by the current October 14

deadline. See App. at 03. Lead counsel and his wife also had the birth of their first child on

September 28, 2021. This extension is not sought for purposes of delay, but so that justice may be

done.

        For these reasons and for good cause shown, Defendants request that the Court extend the

deadline for each to file their answer/responsive pleading to and including Tuesday, October 19,

2021.

Dated: October 13, 2021                         Respectfully submitted,

                                                By: /s/ Jonathan R. Childers
                                                Jonathan R. Childers
                                                 jchilders@lynnllp.com
                                                 Texas Bar No. 24050411



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                                                 Leo D. Park
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                                                 ATTORNEYS FOR DEFENDANTS

                             CERTIFICATE OF CONFERENCE

        I hereby certify that on October 12, 2021, a member of counsel for Defendants, Leo Park,
conferred with counsel for Plaintiff, Donald E. Hill, via phone call and email about the relief
requested herein. Mr. Hill confirmed that Santander was opposed to a one week extension.
Counsel for Defendants, Mr. Childers and Mr. Park, then on the evening of October 12 requested
a 5-day extension, to Tuesday, October 19, 2021, and clarified the extension was without waiver
of Santander’s ability to file a motion for remand should it decide to do so. Counsel for Defendants
repeated the request for extension this morning, October 13 at 8:13 a.m. via e-mail. At the time
of filing, counsel for Defendants have not yet heard from counsel for Plaintiff as to whether he
opposes the short 5-day extension relief requested herein.

                                              /s/ Leo Park
                                              Leo Park

                              CERTIFICATE OF SERVICE

      The undersigned hereby certifies that a true and correct copy of the above and foregoing
document has been served on all counsel of record via the Court’s ECF system and e-mail on
October 13, 2021.

                                              /s/ Jonathan R. Childers
                                              Jonathan R. Childers




MOTION TO EXTEND DEFENDANTS’ RESPONSIVE PLEADING DEADLINE                                    PAGE 3
